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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
GEORGE E. BRADLEY,                  )
                                    )
            Plaintiff,              )
                                    )                  Civil Action No.
            v.                      )                  22-10189-FDS
                                    )
YORK COUNTY SHERIFF,                )
                                    )
            Defendant.              )
____________________________________)


                                MEMORANDUM AND ORDER

SAYLOR, C.J.

       By Memorandum and Order dated May 4, 2022, plaintiff George E. Bradley, an inmate in

custody at MCI Shirley, was ordered to show cause why this action ought not be dismissed

without prejudice, or alternatively, transferred to the United States District Court for the District

of Maine. The Order explained that even if the court finds that diversity of citizenship exists in

this action, venue would not be proper in this court because Bradley’s claims arose in Maine and

none of the purported defendants are located in Massachusetts.

       On May 27, 2022, Bradley filed a response stating that he is a Massachusetts resident and

requesting that this action remain in this federal court. To support his claim of Massachusetts

residency, Bradley attaches a copy of an April 15, 2022, Social Security Notice addressed to

Bradley in Peabody, Massachusetts. He does not dispute that his claims arose in Maine and that

the defendants are located in Maine.

       Rather than dismiss this action, in the interests of justice this action will be transferred to

the United States District Court for the District of Maine under 28 U.S.C. § 1406(a). This Court
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takes no position on the pending motion for leave to proceed in forma pauperis, which is

reserved for adjudication by the transferee court.

       For the foregoing reasons, the Court orders that this action be TRANSFERRED to the

United States District Court for the District of Maine pursuant to 28 U.S.C. § 1406(a).

So Ordered.

                                                     /s/ F. Dennis Saylor IV
                                                     F. Dennis Saylor IV
                                                     Chief Judge, United States District Court
Dated: July 8, 2022




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